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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JUSTIN L. BUCKNER,
 JORGE TORRES,
 BRITTANY FOWLER, and
 JULIE K. GREER,                                             No. 08-30071-DRH

 Defendant.

                                 AMENDED ORDER

 HERNDON, Chief Judge:

       Before the Court is a Second Motion to Continue Trial submitted by

 Defendant Fowler (Doc. 41). Defendant argues that her counsel is currently engaged

 in a lengthy trial and has another trial scheduled for November 3, 2008, the same

 day as this trial. The Court finds that pursuant to 18 U.S.C. § 3161(h)(8)(A), the

 ends of justice served by the granting of such a continue outweigh the interests of the

 public and Defendant Fowler in a speedy trial because failure to grant a continuance

 would unreasonably interfere with the current plea negotiations, which if successful

 would serve all parties’ interest in a just and efficient outcome. Therefore, the Court

 GRANTS Defendant Fowler’s motion to continue trial (Doc. 41) and CONTINUES the

 jury trial as to all Defendants scheduled for November 3, 2008 until February 2,

 2009 at 9:00 a.m. The time from the date Defendant Fowler’s motion was filed,

 October 23, 2008 until the date on which the trial is rescheduled, February 2, 2009,
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 is excludable time for the purposes of a speedy trial.

              IT IS SO ORDERED.

              Signed this 29th day of October, 2008.

                                               /s/     DavidRHer|do|
                                              Chief Judge
                                              United States District Court




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